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 8                                         UNITED STATES DISTRICT COURT

 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    UNITED STATES OF AMERICA,                          No. 1:15-CR-00233-DAD-BAM-2

12                          Plaintiff,

13            v.                                         ORDER FOR FORFEITURE MONEY
                                                         JUDGMENT
14    OSCAR DIAZ LANDA,

15                          Defendant.

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              Based upon the United States’ Application for Forfeiture Money Judgment and the entry
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      of guilty plea as to defendant Oscar Diaz Landa,
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              IT IS HEREBY ORDERED that
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              1.       Defendant Oscar Diaz Landa shall forfeit to the United States $257,325.90 and the
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      Court imposes a personal forfeiture money judgment against the defendant in that amount.
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              2.       Any funds applied towards such judgment shall be forfeited to the United States of
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      America and disposed of as provided for by law. Prior to the imposition of sentence, any funds
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      delivered to the United States to satisfy the personal money judgment shall be seized and held by
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      the Department of Homeland Security, Homeland Security Investigations, Customs and Border
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      Protection, in its secure custody and control.
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              3.       This Order of Forfeiture shall become final as to the defendant at the time of his
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      sentencing and shall be made part of the sentence and included in the judgment.
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     ORDER FOR FORFEITURE MONEY JUDGMENT                 1
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 1            4.       In accordance with Rule 32.2(b)(3), the United States, in its discretion, shall be

 2    allowed to conduct discovery, including but not limited to serving Interrogatories, Requests for

 3    Admissions, Requests for Production of Documents, the taking of depositions, and the issuance of

 4    subpoenas, in order to identify, locate or dispose of property to satisfy the money judgment.

 5            5.       The United States may, at any time, move pursuant to Rule 32.2(e) to amend this

 6    Order of Forfeiture to substitute property having a value not to exceed $257,325.90 to satisfy the

 7    money judgment in whole or in part.

 8    IT IS SO ORDERED.
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          Dated:      February 13, 2017
10                                                           UNITED STATES DISTRICT JUDGE

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     ORDER FOR FORFEITURE MONEY JUDGMENT                 2
